
*336DECISION.
On authority of the Appeal of the First National Bank of Evanston, Wyo., 1 B. T. A. 9, it is held that the $30,000 representing the imextinguished cost of the building purchased by this taxpayer in 1906, which was demolished and discarded in 1912 and replaced by a new building, was a proper deduction as a loss in that year. The depreciated value of the building demolished being a deductible loss for 1912, can not be added to the amount expended in the construction of a new building in 1913 and included in invested capital of the corporation for 1917 and subsequent years, during the term of the new lease, in computing the profits taxes imposed for 1917 and subsequent years.
*337The evidence does not justify an allowance for depreciation and obsolescence on the building constructed in 1918 in an amount greater than that determined by the Commissioner.
The deficiency determined by the Commissioner is approved.
